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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                 Judge Christine M. Arguello

 Criminal Case No. 13-cr-00392-CMA-02

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 2.     JOHN J. PAWELSKI,

        Defendant.


          ORDER REGARDING DISCLOSURE OF GRAND JURY MATERIALS
               TO PRO SE DEFENDANT JOHN JOSEPH PAWELSKI


        Upon consideration of the Government’s Motion For Order Granting Pro Se

 Defendant John Joseph Pawelski’s Request for Grand Jury Material Pursuant to Fed.

 R. Crim. P. 6(e)(3)(E)(i), it is

        ORDERED that a copy of the transcripts of testimony given before the grand jury

 and related exhibits be disclosed to Pro Se Defendant John Joseph Pawelski for

 preparation for trial.

        IT IS FURTHER ORDERED that:

        1.      Pro Se Defendant John Joseph Pawelski shall make only such copies as

 are necessary to prepare a defense of this criminal case;

        2.      Pro Se Defendant John Joseph Pawelski shall keep a written record

 concerning how many copies were made, to whom those copies were delivered, and the
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 date of delivery, and Pro Se Defendant John Joseph Pawelski shall deliver a copy of this

 Order allowing disclosure with the materials; and

       3.     At the conclusion of the case in this Court, by entry of the Court's judgment,

 Pro Se Defendant John Joseph Pawelski shall collect all such copies and return them to

 the government within ten days.

       DATED this     6th    day of March, 2014, at Denver, Colorado.

                                                 BY THE COURT:



                                                 ________________________________
                                                 CHRISTINE M. ARGUELLO
                                                 United States District Judge




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